Case 1:24-cv-04108-ALC               Document 3-1          Filed 05/30/24         Page 1 of 26
      Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page32 of 57
                                            AA-160




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MONIQUE SYKES, REA VEERABADREN,
KELVIN PEREZ, and CLIFTON
ARMOOGAM, individually and on behalf of
all others similarly situated,
                                                          ECF Case
                                    Plaintiffs,           No. 09 Civ. 8486(DC)

         -against-

MEL S. HARRIS AND ASSOCIATES LLC;                         DECLARATION OF
MEL S. HARRIS; MICHAEL YOUNG;                             NICHOLAS
DAVID WALDMAN; KERRY LUTZ; TODD                           EGLESON
FABACHER; MEL HARRIS JOHN/JANE
DOES 1-20; LEUCADIA NATIONAL
CORPORATION; L-CREDIT, LLC; LR
CREDIT, LLC; LR CREDIT 10, LLC; LR
CREDIT 14, LLC; LR CREDIT 18, LLC; LR
CREDIT 21, LLC; JOSEPH A. ORLANDO;
PHILIP M. CANNELLA; LR CREDIT
JOHN/JANE DOES 1-20; SAMSERV, INC.;
WILLIAM MLOTOK; BENJAMIN LAMB;
MICHAEL MOSQUERA; JOHN ANDINO;
and SAMSERV JOHN/JANE DOES 1-20,

                                 Defendants.



       NICHOLAS EGLESON declares under the penalty of perjury, pursuant to 28 U.S.C. §

1746, that the following is true and correct:

    l . I am the founder and president of Paladin Consulting and Programming, which provides

       IT consulting services to New York area health care, social service, and non-profit

       agencies, and commercial clients. I submit this affidavit in further support of Plaintiffs'

       Motion for Class Certification.

   2. On July 27,2011, I began analyzing a Microsoft Access database entitled "Process

       Service Management System," which had been produced earlier that day. I understand
 Case 1:24-cv-04108-ALC              Document 3-1           Filed 05/30/24        Page 2 of 26
       Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page33 of 57
                                            AA-161




       that this database is a record of all service of process performed by Samserv for Mel

       Harris and Associates, LLC, from January 2007 through January 2011.

    3. Because I received the entire set of data on July 27, 2011, my analysis at this point is

       necessarily non-comprehensive. I believe there may be more data indicative of

       consistent, easily ascertainable trends that I have not yet been able to review.

    4. The database contains 123,828 records of service, including 94,123 records of cases filed

       by Mel Harris in the New York City Civil Court. Of these records, 59,959 concern

       service of a summons and complaint in cases filed by Mel Harris on behalf of the

       Leucadia Defendants in New York City Civil Court.

    5. For each record of service, the database contains a nwnber of fields, including the name

       of the process server, his or her employee ID number, the date the process server was

       assigned to serve process, the method of service, the date and time of service, and, if

       applicable, the name and a description of the person served. The database also contains

       payment information for process servers.

    6. For method of service, the database specifies the following methods of service: personal

       service, nail and mail, substitute service, corporate service, and several types of

       unsuccessful service.• In this affidavit I use the term "completed service" to mean

       instances in which a process server visited an address and effected service. "Attempted

       service" means instances in which a process server visited an address but did not effect

       service. "Visits" me~ns all ~slap~~~ l~ ~!li~h a_process server weJ;tt to an.~qg;-ys~,




1
 "Unsuccessful service" includes the following categories: nonservice, bad address, moved, new
address, not known at address, P.O. Box, no apartment number, deceased, miscellaneous,
jurisdiction and "retd-per atty-not serv."


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Case 1:24-cv-04108-ALC              Document 3-1          Filed 05/30/24         Page 3 of 26
     Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page34 of 57
                                          AA-162




      whether or not service was effected. In other words, ''visits" equals attempted plus

      completed services.

  7. Six individual process servers (Assmat Abdelrahman, John Andino, Benjamin Lamb,

      Michael Mosquera, Angelo Rivera and James Stevens) accounted for 79% of all service

      perfonned by Samserv for Mel Harris in New York City between January 2007 and

     January 2011. Together, these individuals reported 74,446 services.

  8. I was able to isolate several subsets of data by runrung queries in Microsoft Access, as

     well as by exporting the data into Microsoft SQL Server and Microsoft Excel.

  Impossible and Highly Improbable Reports of Service

  9. The data shows multiple instances of the same process server recording two or more

     services at different addresses at the same hour and minute- a physical impossibility.

     Twenty-three out of25 servers who reported serving in New York City logged

     simultaneous visits at different addresses. Attached as Exhibit A is a table displaying the

     number of times each process server reported simultaneously being in at least two

     different locations in New York City at the same time.

  I 0. For example, Defendant Mosquera claimed to be at four different locations on September

     17, 2008 at 1 p.m., Defendant Lamb claimed to be in two different locations on

     November 28,2007 at 6:59p.m., and Defendant Andino claimed to be in nine different

     locations on March 29, 2007 at 4 p.m.

  l 1. OveraJl, the d.~t~ shows tha! Defen<!_an_! Andino claimed to be in two or more places at the

     same time on 327 occasions, Defendant Mosquera on 124 occasions, and Defendant

     Lamb on 66 occasions.




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Case 1:24-cv-04108-ALC             Document 3-1          Filed 05/30/24         Page 4 of 26
     Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page35 of 57
                                         AA-163




  12. Furthennore, in 2,915 instances, a process server claimed to have attempted or completed

     service before the date that the service was assigned to that process server- another

     physical impossibility.

  13. Finally, each of the six most active process servers reported physically impossible travel

     times.

  14. To detennine actual travel time, I filtered the relevant data columns by server and date,

     sorted by time of visit, and ran a comparison with a driving route generated by Google

     Maps.

  15. The data shows several instances where individual process servers reported making 40 to

     100 visits in a day in less time than Google Maps estimates is required for the continuous

     drive time alone. The Google estimates assume a continuous driving route and do not

     include time for other activities, such as parking a vehicle, entering a building, serving

     legal papers, or updating a logbook.

  16. The data also shows instances where process servers report having served papers in an

     order that required nonsensical backtracking along the route.

  17. Attached as Exhibit B(l) through B(6) are tables displaying examples of simultaneous

     service, impossible travel times and nonsensical backtracking as reported by the six most

     active servers.

  18. For example, Exhibit B(l) shows that on the morning of October 2, 2008, while serving

     defen~ants in -~-t_a~en ~~~~1]-d,_P..e.~n~ant M<?squera r~ported having ~ompl~ted JQhours

     and 24 minutes of travel time in only two hours and five minutes. On that morning alone,

     Defendant Mosquera consistently backtracked among zip codes, and also reported four

     instances when he was in two different locations at the exact same time.




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Case 1:24-cv-04108-ALC            Document 3-1           Filed 05/30/24        Page 5 of 26
     Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page36 of 57
                                         AA-164




  19. Exhibit B(2) shows that on December 8, 2007, while serving defendants in the Bronx,

      Defendant Lamb reported having completed 12 hours and 15 minutes of travel in seven

      hours and 10 minutes. On that day alone, Defendant Lamb consistently backtracked

      among zip codes and also reported 10 instances when he was in two different locations at

      the exact same time.

  20. Exhibit B(3) shows that on October 15,2007, while serving defendants in Brooklyn,

      process server James Stevens reported making visits almost exclusively within five-

      minute increments. A particularly odd entry shows that from 6:30 to 6:45 p.m., Mr.

     Stevens traveled to an address that according to Google Maps would take him 22

      minutes, not 15. Mr. Stevens also reported making this same impossible trip in 15

     minutes on two other dates for additional service attempts. Also on October 15,2007,

     Mr. Stevens reported four instances when he was in two different locations at the exact

     same time, including one for which he reported simultaneous service attempts at the same

     two addresses on two other dates.

  21. Exhibit B(4) shows that on December 15, 2007, while serving defendants in Brooklyn,

     process server Angelo Rivera reported having completed eight hours and 48 minutes of

     travel in six hours and 39 minutes. During that time period, Mr. Rivera reported a travel

     time of one minute for a distance that according to Google Maps would take 31 minutes

     to complete. On that day Mr. Rivera backtracked among zip codes repeatedly, and also

     reported three instan~~~ wh~~~ h~ ~as in two different locations at the exact same time ..

  22. Exhibit B(5) shows that on January 28, 2008, while serving defendants in the Bronx,

     Defendant Andino reported having completed 16 hours and 57 minutes of travel time in

     five hours and 36 minutes. During that time period Defendant Andino backtracked




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Case 1:24-cv-04108-ALC             Document 3-1          Filed 05/30/24         Page 6 of 26
      Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page37 of 57
                                         AA-165




      repeatedly among zip codes, and reported 10 instances where he was in two different

      places at the exact same time.

   23. Exhibit B(6) shows that on October 6, 2008, process server Assmat Abdelrahman

      reported making service attempts in Brooklyn at 16 different addr<:sses in the span of two

      hours and 23 minutes, despite the fact that the driving time alone among those locations

      would have taken three hours and 27 minutes. Mr. Abdelrahman reported consistently

      backtracking among zip codes throughout the day, in one instance claiming a space of

      one minute between services when the drive would have taken at least 21 minutes. He

      also reported an instance of being at two different addresses at the exact same time.

Methods and Volume of Service

   24. The data shows that a strikingly small number of individuals performed most of the

      reported service. Six individual process servers (Assmat Abdelrahrnan, John Andino,

      Benjamin Lamb, Michael Mosquera, Angelo Rivera and James Stevens) accounted for

      79% of all service performed by Samserv for Mel Harris in New York City between

      January 2007 and January 2011. Together, these individuals reported 74,446 services.

   25. The six process servers reported high volumes of service, including hundreds of days on

      which they claimed to have made more than 40 visits in a single day. See table attached

      at Exhibit C.

  26. The six process servers also reported widely divergent rates of personal, substitute, and

      nail and mail service. For example, Defendant Mosquera reported personal service in.

      1% of cases, substitute service in 88% of cases, and nail and mail in 8% of cases.

      Defendant Lamb reported personal service in 5% of cases, substitute service in 91% of

      cases, and almost never reported nail and mail service. Meanwhile, Defendant Andino




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Case 1:24-cv-04108-ALC            Document 3-1          Filed 05/30/24        Page 7 of 26
     Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page38 of 57
                                         AA-166




     reported nail and mail service in 80% of cases. See tables and charts attached at Exhibit

     D.

  27. Overall, Samserv process servers in New York City reported effecting personal service in

     3.5% of cases, substitute service in 69% of cases, and nail and mail service in 22.4% of

     cases.

  Payment of Process Servers

  28. Samserv's database contains information regarding payment rates, including whether or

     not a process server would .be compensated for various service outcomes.

  29. The database indicates that individual process servers were to be paid from $6.50 to $10

     for each completed service, with the majority of the servers to be paid less than $10 per

     completed service.

  30. The database also indicates that process servers received no payment when they reported

     that the address was not valid, the defendant had moved, the defendant was at a new

     address, the defendant was not known at the service address, the service address was a

     post office box, or the service address lacked an apartment number.

  31. In 95% of NYC Civil Court cases, process servers reported an outcome for which they

     would be paid.




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Case 1:24-cv-04108-ALC           Document 3-1          Filed 05/30/24         Page 8 of 26
    Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page39 of 57
                                       AA-167




       I declare under penalty of perjury that the foregoing is true and correct.


  Dated: July~. 2011
       New York, New York
  Case 1:24-cv-04108-ALC               Document 3-1            Filed 05/30/24   Page 9 of 26
        Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page40 of 57
                                                 AA-168


                      Exhibit A - Simultaneous Visits to Different Addresses

Instances when servers report being at 2 or more addresses at the same time,
for servers who claimed to serve In NYC Civil




Other NYC Civil servers (<4000 service claims)
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            4 LEWIS                                      5
           11 WEGARD                                    21
           21 D. MOSQUERA                              204
           26 BENITEZ                                   41
          55 JACOBS                                     42
          56 DWORETSKY                                 138
          57 DEGENNARO                                   1
           60 NEWMAN                                     5
           61 ACEVEDO                                  107
           62 JOSEPH                                      3
           64 TAN EGA                                     2
           66 H. AL-ATRASH                                9
           67 MILLER                                    85
          71 N.ATRASH                                   34
          72 MATHERS                                    24
          73 ISSAM                                        2
          77 BARRETI                                      0
          78 IBRAHIM                                      0




                                                 Page 1 of 1
                    Case 1:24-cv-04108-ALC           Document 3-1      Filed 05/30/24    Page 10 of 26



                                     Exhibit 81 - Mosquera Impossible Travel 10/2/2008
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                                                    Exhibit B2- lamb Impossible Travel12/8/2007
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                                                                                Exhibit B3 -St eve ns Impossible Trave ll0/15/ 2007
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                                                                                                                                      -:- - - -
                                                                                                                                                     ,.__          ...   .    -·               .    .
                                                                                                                              _ toLtY1QQ7 _ ~:3o ~M 1QL~3a.O.Q~ __ J:Q~ p~,.
 ? !;Y..!:f!:>. :~mLL~H!.~rr~--~m8.'.1S.!:.m.t,l"iL -·· JJ,~O..fLJ..Q/~~0f!91; .7;Q~-~ ; - - - - ----- N&f!i _JJU12L2007_. _7:35PM ...J..OjJ_;!/f-0_07 _ _1 :.9..?..~tv1
 STEVEI\!S..: ~~-¥JJROPQLITAI~JWE ; BROO!S.!.,_yt-1_~'! .... ,....1Jl.J4: _1,0/1$./79.97.: 7.;9?.AM.          • _ __._f':l&f0_ .1Q.MaQ9?. _?:!Q PM. .. J9/.13n_OQ7 J.:W_PM
 lli't£.~~-l· !!.~ -~9J'!~~LY~.If_AJ'12 i BROOKLYti+r:l.Y· _ ... U~U: 1.9}lfJ./7-9fJ7 ?.:!0 AM. ..... . .. ___ ~&M_ . .!9ll?.&QQ7. J:1?PM. _ l.O/.ill.m_Q7 . - ~:;J,Ut--!1
~TJYI~~;20!!.AC~QN ST APT 2               BROQ_~.l,YN ·NY        11211' . :!.0/.~}2()0?· ].,;~_5_/i¥,   ···-··· .. '...~~~ ...19/JJ.LlJ).Ql .?.:?Q.P.M• .1.0/1~/2QQ7 . .~:~Q.~¥
.~.EN.S.:J.22'..H .!'I..!LSJ AP'J 50    l BROOKLY~J.!f( - ··- J!2V .)9{~fJ/1.09? .. "?:.2P.~M.... ___ _ .... - .•-.:~.Y..~~- --·-- ···· --· .. -· ... __ .. _ ... --··· _

-~~~-:~_~:~~ ~~-;PT _!4o=i~~~~~~-~~~-- ~-~};·~~ , ~)!~~1:~~: ;;~1~~·:·.~ ~~--·.·. ~---····· :· ~t~ ~-~tg~{~~i~~ . ~~~~.:~ . ~~~~~~~~~; ~;~~ :~




                                                                                                                                                                                                         AA-174
 ~~V~~ . 231 Y~B!\I_O~_l.YE... ·- _ .. J!ROOKLYt:!.. N_Y         J)296.. . 10/1_5/2,0SJ7. _7;35 ~fv1.______ _           . __!1l&~ ').O/H/?-J!.Q7 .. ~;.()S_~M .. 1_0/.1~/2Q07 1.:?~ P¥
 STEVENS ·~.li_LAFAYETIE AVE APT 2 .:I!B_OOKLlli_ NY _ .!.P2J 10/.15j29Q7j J:,:4.0 AM -----·-- _
 STEVENS •854 MACON STAPT 1


 STEVENS .•~EASTERN PKWY. APT ~ Q.BQOKLYf'L. rf1 _
~EVENS:877 EMPIRE BLVD APT 810 !BROOKLYN NY
                                                                            ~0/~/20Q7' 8.;01 AM.
                                                                  11213 10/15 2007: 8:05AM
                                                                                                           _ _ -·
                                                                                                                        · - ~~!\1 _19/llJlQQ.? - ~":1:9. ~M .. JQ/~f?Q!E....1:40 Pfl.1
                                            ' BROOKLYN NY - · _11?~3; 10/15/2007' 7:45 ~M . _. _ .... _ -- ~~M _],_QJJYJQQ? .?.:15 PM ~0/1300Q7 1:45PM
 STEVENS LllQ.Q:I~l!.~£.'CU.f!.2~fl .~.ft9..Qlli.."L!.!'J.J_ ...!!~1 . *Ojl~a.oo7 ?.:~QA¥ _________ -~~M..J.Oa]._aQP] 8.;~9 PM 1Q/.l3/~QOZ 1:5_0 PM
 ~~VENS ~§.!!J...lli~9~ Pl.. _ ____ ,.!!.ROOKLY!i..tfL . 11233 . 1P/15/2Q07 7:~~AM.                                        ..l'i~.'YI .!Q/.!U2Q07 8:~2 PM J,.Q/13/2.0.07 1:55PM
                                                                                                                __ . _ -~-~M _10/l~f20Q7. !3:?.0 PM :l:Q(1~/.~007 •.. ?..:.Q?. f¥
                                                                                                                             N&M 10/12/2007 8:35PM 1Q/.U./.2QQ7 ·- 2:!9 P.M
                                                                                                                                                                                                         D
 STEVENS                                                                                                                     Sub.
 ~~ie"N"s)J)3 ~flli. t~WJ_.t.PT BROOKLYN ' NY
                                            1
                                                                  1       . 1,0/~/2007~ 8:.1.,? A~· _ _ _ _ .                ~~~s,        ....     _ . . .          .     . .. . .. .. . .
 S"[fl{~NS : 127 KING~ON AVE ~PT ~ : BROOKLYN jNY _ 11233. 10/~/?,007! 8:20AM. -·                             .... _         NI!<M 10/12/2,C)OJ:, 8 :50 PM. 10/13/2007 2:25PM
 ~HVEN~ )§JS FULTON ST APT Cl13 BROOKLYN : NY .... n~.:;_~: -~-0/JS/.2091: . ?.:~.O.AM •. - - ·-·--- __.Pers. ·-·-- - - _ _ . _ ·--- ·-·. . .
                                            1

 SJ'!Y~f'J~. · 604POWELLST                  · BROOKLYN NY      : 11212 10/15/2007' 8:50AM                                  ·.t~r:.s, .. _ ....
 fl~'{.ENS                                                     !         i                 I           i           I         ~~s..:.. - - - · _ __ .... • ...
 ~TEVE~.~- 1119 CARROLL rr~~T 48 _'_BRO_p_tg,)'_!II___NY .. ..... !.h?~.~-l.Qi~§/.?.9..<E:_6:4_Q_A,M__ _ _           . . .N..~M : ~Q/13t{OQ? §;q5 ~M 10/15/2007 1:10PM
 STEV~:.360 MONTGQ~.J!\Y ST .•-;..BRO_OKLYN ,NY_ ·- _ nn~ .. 1Q/J.~aQ9.L. 6 :45AM _ ___ - ···. _ !'i&M. . .19/)}}.2.99] . .6..J..Q_P.M. 1()/15/2007 l.:~PM
 ~l:EYE!'I~. J..L¥..<;K~s~li!'!-~f:r SC____ :~oQKLYN .~ __1+,?2?'. 1QL1§1..2_007i ..1?.:2Q.AM. . . _ _ . _ _ . JJ&~ .!91.Uf20QZ..§;.t~ .P!!-1. 10/15!200? 1:2QPM
 g~~-~~ _:~,Q.~s WA~!-1!N!3I~rt~Y.L_:_!3.BQ.@.LYf'i : ~r .. .uz~s . toJ16/20Q7 · 6 :?5 A¥-:. __ ..                     _. f>l&M . wn1.2oo1 .6:2oPM 10/15/2007 1:25PM
 ~~~ll!~ ..ss__gq_~~ ~vJ..~e.HL . ....!H!QP$.~yt-.u~x .....!H~~ .lo/.~~/2Q9Z; z.;<n._AI\1... · ---- ___ . N_~.M to..Ln/4907 . ?:~ ..PM 10/15/20o7 1:30PM
 lliY.~.~~..S4STERJ..ING ST -- - - _:BROOKLYN ~~L-..J...222 _._!,0f.!.W19.0.7:. Z:.Q.5t\~_:_ .• _ _ · -                    - ~&_¥ . 1C)f.J)J?QQ.7 q:~O ~1\11 10/.15/7,.007 1:35.PM

~~j.~~~-~~~~fpn~~~=~~~~~~ ~~                                                     ~~~}~i~Jl~~-~~~;:__i]~-~~~: ·:~~~--~·-··-· -·~t~·:·+~P~~~~j--~~~i~T t~~~~~:;
                                                                                                                                                                                  1:40PM
                                                                                                                                                                                   ~:45 PM
 ~~~NS : ~DW09D ST APT 12 . BROOKLYN ~Hf._ 11225! . 10/16L200Z: _vs ~~- . _ _. _ _ . ..N..~M ; 1Q/1_3j200J. J~:~~t."'1: )0/~/290.7. ':SQJ'M.
.Sl:EY.~NS ' 254 RUTIAND RO                 iSROQJ~~Y!:l! NY_.... 1122_5;.. l..Q/!,_6/,?Q.QZ.J.:.~O_A_M.._____ _ . _ _.!'J~M.. ) 0Ll3/1Q.Q.?. .6.:_5_9 PM. l0/15/20Q7· 1:~5pM
 STEVENS : 594 ROGERS AVE APT 4R ' BROOKLYN NY                 j 11225! 10/16L2007; 7 :35AM                         _ _ _· N&I\L..W.L!_3.fl007' 6:55 PM_lQ/151.~()9.? ?.:Q_l ~M.


                                                                                                                      Page 1 of 2
                                                              Case 1:24-cv-04108-ALC                              Document 3-1                    Filed 05/30/24             Page 16 of 26


                                                                                    Exhibit 83 -Stevens Impossible Travel 10/15/2007




                                                                                                                                                                                                             Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page47 of 57
.~!..,.~.!>!.~.!_....... u .. r..,., , ......... w   "'"'· nr, . ~.fi.OOKLYN   NY   ._!_1_207!_ 10/17/2007' 6:45AM                    N&M ' _1Jll.~l'J...®,7. ~-;~0 P~tJ.Q/1.§/~Q..QI.. .. .!;lQ..!'M:
.~Tt\tf~~-i ~BO~.FM!LANDS AVE 1 ~~ : BROOKLYN :NY                                      11236: 10/.!lfMill_! :._~Ml                 : N&!11i. !Q/.~f?.J!97~- E?;~·P.~....!.QIJ6/20Q? -· .1_:1 5 PM;
;~TEYENS 1501E9STHSTFL1                                       i BROOKLYN :NY        ' 11236 10/17/2007' 6:55AM!                     ' N&M ; 1015 200i 6:30PM• 10/16 2007. 1:20PM
STEVEf.!l~                                                                                                                            N&M
STEVENS 614 67TH ST APT 3R         ,BROOKLYN NY                                     ~ 112201 10/17.f]OQ?: 7:~_AM •. --·-·-     _ __ !!i~ . !0/'!?/2JJ97 6:~.9 ~~-. ~OJ'!.6j?,_Q9?:.
                           _ . ___ !BROOKLYN •1-fY                                    11220' 10/17/20Q7_ J:20A~ ---· ___ __@M. J9/~~/~Q91




                                                                                                                                                                                                         AA-175
gEVENS_, 42662!'!.DST
                                   ·BROOKLYN 1NY



                                                                                                                                                                                                         D
STEVENS 933 60TH ST                                                                   11230: 10ti7/2007 7:25AM!                ·      N&M 10/15/2007· t:Ul. I'M
mvENs ·445 i6iH       FL4'Ai>1.4R   sr
                                    BRooKLYN ~ NY                                   ·-iiz1s MU UliMiittfif#f               - ·· · i--i&M EJ11JDl!IJUHQi+.il
•STEVENS                                                                                     MllifliJUILWII•MI                           -        - - IIIIMiiJIJIBiljW4. . . . ..1
g~y_E~~)JO ATJ.AiiTl~ ~'!£ &T_§~q!!!~.9.QKLYN ~1.- 11217._ 1Q[!J/~~9i?:~q f\_M__
 STEVENS .403E 96TH ST FL 2 APT 2R ' BROOKLYN :NY                                    11212     10/lS/2007 8:05PM
_g~_ve~ .mlli!!..~M:Qt~!LSJ.Arj ~f."»B"O.~:L.W5iv _~~~ ll;?J~: · ioti$1i99i s;~P ?M ·
~i•.F6 E 98TH ST APT~ _           :B~99.~.LYI'L~Y.. . ___ll2_l2_ ..l:Q/!~/2,097; .!J;!$ .P.~ · ___ .. _ . ..
 CTC\Jc~c _AT7 CADATnr:A A\JE; '2A                             c.onn111 VM · "'v    ~          1n/1r:./"1fV\"7·   a •.,n   PM
                                                                                                                                                  Pe~s . .
                                                                                                                                           qo PM 10/13/29.07 7:25AM
                                                                                                                                                 N&M 1_0/"g/.?,OQ7
  STEVENS 31SSUTTERAVEAPT5£ _ ;~.R.QQ.~L.XN_;.NY___ ~_n-~gj- ~0/~/~097: 8:3~f.M '_ ------ ·                                                  ____ pers. _ ---· .. ___
                                                                                                                                              - · .            _ _        _
·STEVENS .315 SUTT~.!L~Y.E APT.li...__;_BROOK~X!'f . NY .. _].J-21~ !Ql!S...DQO...Z: .~4.QR~L _ -- ... ---· .. tl~~ · J.Q.LPJ]QO? _1 : 35_ p_~ _19/tUJ-9.0? 7:30 A_M
  STEVENS ' 375 BLAKE AVE APT 2G     ~ BROOKLYN ;NX _ __ ll2!_2;·- 1.0/~_npg7 ~ 8.:_45 ~M: ________ .. ·------- .J~rs. ... ------.. ... . .... . ..                  ..
§TEVE_NS. 662_1_CH ENCK AVE           ' BROOKLYN_:_I'i)' . _!gQ:? _ lQ/.1~/.29.07· .i;Q~ .P.M;                    N&M . JQ{_l,1{20Q.Z:. 1:59..P.M . !Q/_13f20Q? _ _1:4.2_Ai111
.~TEVENS . 699 GLEN MORE AVE FL 1 BROOKLYN :.!fL._.. _l;L]QS.; )fJ}J!Jf?-.00.7_ ~;Q~..~~·--- ___ · - N~ ·. .l.Q/W2.QQL l:~~ P.'Y! ~9J~j~9Q? 7.;~.9.1\~
;3JEVEN~·Q@.1.UTTERAVEFL2..Ml.;BROOKLYN ~L_l:\.lQ?...J.QLJ,S_a~\ 9:!Q.lM_                                      --~@,__ ;_ ______ .           _ _           _ . _ .... .
:mYEN~ ' 735 LINCOLN APT 3U             BROOKLYN NY          11208: 10/15/2007< 9:15PM'                           N.§t_fl1 10/12/2007 2:01 PM ~9/J3/2_09] . 1;.5.?. ~.M·
·g-eVENS                              I                    I      I                !         I         i          _t!&M.                               . 19/1.~/~90~ ~;.07 AM
 .Sf~~Nji ,101 WELDON ST APT B2 !BROOKLYN iNY _: 11208i ~.l.Q/!?flQQ1: ~:2S.fM                                    ~~-M _ 10/12/].QQ?. .PO P_!y1 . 10/JJ{l_OQ? ~;OS AM
  ~TEY~II:I§.' 439 LINCOLN AVE APT lR BROOKLYN :NY ' 11208! 10 15/2.007· 9:30 PMi                                .N&M lill0~/~12~/~
                                                                                                                                  20~0~71iii2: 15iiiPM~~~1~0/i1il
                                                                                                                                                               3/~2~
                                                                                                                                                                   00iii7•• 8: 10.
                                                                                                                                                                                             1
                                                                                                                                                                                 AM~~
  sTEVENs
  ~JEV£NS ._?0 LQGAN F!,Jp            .BROOKLYN ' NY _:._ glQ~ •._l,pj~/~QQ7l 9ffi..f.M.
                                                                                                                  N&M        1•
                                                                                                                  N&M l0f12/.2007 2:25 PM lOfB/2007 ~:20 AM
                                                                                                                                                                   a 1
  ~JE.Y'lli~_16 HALE AVpL 2           IBROOKLYN jNY          1120~L.\Q/.l~f.~007l_9:4S PM:______ . __ .~&M :.. ~.91!.21?9.Q7 . .2@Q..P.M ..19LlJ119.QZ' . $~-~A~
  STEVENS .2683 FULTONJ~SMT S.L_~-~ROOq'(!II.J!f!___l.,l207i 1~.m!.Q7l ~p PM:_ _______ ____ _;_N_&M · - ~QJ..1?J.1007 ....?.:.~~-~.M 10/~/20Q_7__ 8:30 A¥._


                                                                                                                           Page 2 of 2
                                        Case 1:24-cv-04108-ALC                        Document 3-1                                       Filed 05/30/24                                  Page 17 of 26



                                                             Exhibit 84- Rivera Impossible Travel 12/15/2007
          Key:
          Claimed service on this day
           onsens1ca        o e ac rae ng

          Clann to be 1n two pi.!Ces at once




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                               ;r                                                         "': -•     ~:     .·~ :{~":.":'.'f(     !·~;.~:). ..~~ ,:.          '1 ·, '          '•
                                                                                                                                                                                    1
                                                                                                                                                                                        _ ••   , ,   ·: -_;:-.,    ·· :   ':':~tJ
                                                                                                   ·:.. .   ~...   -- ...... -~         . ; '.',-:'        "';.'   ,-; .·. ;                                      ,....
    RIVERA 1302LINCQ~~.f.L _ ___ ·-· -· _ __ BR_qgKLytl__ __:_         tf!: ... 112!.L 12/.15/~QO? .. _8:)},.~M .                                      _ . ____ Syb, _
    RIVERA 1059 SUTIER ~\(~APT 2                • ..JlJiOOKLYN ·-. ~Y•.. _...lilQ?_ p.Jt:;j?,O!J1.. .?.:J.~.A-~ .            . • ... -~~J?"
_BIVERA;203 E 51ST ST                               IBROOKLYN       :!!L__     _!gQ~ .• J.lL!?nQ9.t. ...E?;~.H~ _             . ...         N~!Yf 12/~5/2007 ll:QO AM
 _RIVERAJQ97PROSPE£fJ'LAPT2C _ .. - .. BRQ_~_L)'N _ ~Y. ___U2n_ .JU17L200L.§;P..9.~~ ... .                                       _ ___ _ N~M . 1.2/1~/290.7 l2:00PM
 . .RIVERA 160WI!,DOt;!_STUNITA          . .. ... .. ~ROOK.!-W. ...___ NY _ ...ll?Q~ . _1£,/J.?/2Q.OL .. P.6.t\M.. _ .. ·- -        . . . ..~§<M. ~2/l~/~Q07 12:~7:PM
  J!!VE~h. ~9.6 JEROM..~.S! 8,_1 _ _ _ _ •. ___ .8ROOKL)2L ___ f'J.'L ••.l.!~Q?. 12/15[2,Q0.7: 12:51 PM .                                .. ~\1~, .
 . RJY~~ !105 WILLIAMS AVE APT3F          ·- _ . BROOKJ:YtJ__ J!Y .. ~ ).~~0.1. 12/15/1,997.:. 1:.01J1M · - _ .. . ·- S.l,!b,
   .1~1.VFJ3P._f?Q..TAPSCO_l]'_¥        __ _ BROO_KLYN.... . NY - -.-H.2_1_~ ~.?{~{l.®Z . .l~W~-                       · __ ..... _ . Sub.
    R!IJ~RA..B.Q.~Q.WELL STFL}                  _ __BROOK~~- -· __NY .. __ p]_g J..U~~L~091'. .!;75 PNI._                  . ---· ·Sub.
 ..RIY.,E.~.~:.nf!:lRISTOPHER AVE 9G            ... _B_RO_OKLYN ·--.'.ID..._ .J..l~g . ~V.~~QQ~, .:!,~H~'L -· .                          ...S.ub.
   _131Y..~~-}j_§,.PRISTOL ST APT A                  BROO!S~Y!'!. -·-· f'!Y.. __li:V..L '!?/J5/7.QP?: .. !;~~f..M .... --· _ .. _ ..     . S~b.
    RIV~B_A. :4:~Ji~RZLST APT 10                     BROQ15_1J~---- ..NY_         1_11.l?. ... lU~/tQC?z;. .J.:.S_?_P_M _    ,_ ..... _ ..~!:!.~·
.. 8.1.YERA 449 WATKINS ST APT 3H                                    . !'JY _____JJ7l.2.. J_2/~~j)_QS)_1_ .2;0~ .~NI - -             --~!:!.~·




                                                                                                                                                                                                                                    AA-176
                                                                                )1212 r)/15./2fYiJt_ ?.;15_!~~ ---- _ -·-·- ?.Y.b.:..



                                                                                                                                                                                                                                    D
 ..BJ..VER[>-•308 SUTIER AVE APT 3C                                    NY
                                                                                I           I - . ... . - - ~ 2:25PM            - ·- -- iSyb. -




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                         Case 1:24-cv-04108-ALC               Document 3-1                  Filed 05/30/24           Page 18 of 26




~ ~;~~~~cJUmUJoJoA             • unwn•n•      ,.,     UU~ '    ---f.UUI )      ---~"''        ~-     ~;~~:       ,   _   , ., _   -   , , ,,   __




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                                                                                                    1§ JIL&!Vl   12/15/2007            7:58 PM
                                                                                                     9 N&M       12/15/2007            8:08 PM
           ..
~-8~j'."='.rA ~~JJ• ~·         ~ ~~,..~·..
                                ..           , .. .   · ··~~· , ·~r··~~--· ,   ··---....1     ·-     4 ~-lk.~    P/15/2007             8:18PM




                                                                                                                 12/1.3/2007            8:18PM




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                                                                    Page 2 of 2
        Case 1:24-cv-04108-ALC    Document 3-1      Filed 05/30/24   Page 19 of 26



                   Exhibit 85 - Andino Impossible Travell/28/2008
Key :




                                                                                         Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page50 of 57
                                                                                     AA-178
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                                     Page 1 of 3
Case 1:24-cv-04108-ALC   Document 3-1     Filed 05/30/24   Page 20 of 26




                                                                               Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page51 of 57
                                                                           AA-179
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                            Page 2 of 3
Case 1:24-cv-04108-ALC   Document 3-1   Filed 05/30/24   Page 21 of 26




                                                                             Case 13-2742, Document 107-2, 11/15/2013, 1093370, Page52 of 57
                                                                         AA-180
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                            Page 3of3
                                       Case 1:24-cv-04108-ALC                            Document 3-1                             Filed 05/30/24                                Page 22 of 26



                                                          Exhibit 86- Abdelrahman Impossible Travell0/6/2008
                   Key:
                   Claimed service on this day
                    onsenslca       ode backtracking

                   Cla im to be in two places at once




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                                                                                          -; -- .... -   -·    .    ~-·                          ·.:-
                                                                                                                                                    -:.::.·.·.:.. .--1. ::"•-=-~""':,~   ..
                                                                                             I II                         ;                      N&~~_. 1Q{~L~QQ1t__1;~1.!.>M _,!9/.4/~008                              7;91L~M
_A~DELRA.HMA~~_liS.li 66!1:i_5.T            ____, ____ BROOKLYN NV : 112~ ·. lQ/~/'1,_~~- -~=4~.f'M ' _ ......... _ . -~~tyt_ 1.9/~/.?J~Q.~- __p~ Pl'tl .19/4/2008 7:2? ~M
 ..ABDELRAHMAN 1812ES3RDST . ·- __ ....]E_OOKLVN . ~.                              4 .~Q/9/~~-- z_:p~~M . ····· -           ___ ~~!YI. - ~.Q/.~a.QQ!f ... k.qUM _ 10/~/.fQQ8 .z~Q.PM
.•~.BDELRAHM~~2E28TfiST ____ ___ _ _.~ROO,K!JN. !':I.L .. 11235 ~9f6aQQ8. 7.:~.N'!1.                                     ··-    . N.&M jQ/V.2QQ~ ,2:,'1,0P.M jQ/4/)00~ , 7;.~6 .~1!'!
 . ABf?.~LM._Hl!1.At:i 2302 W 1.7.Iti.iT APT 3 _ ... : ~~QQKLVN NV                    10/fJ/2fJOJ{ 7:40 ~M         __,..           N&M . W/M.4QQ.!3 ;3:}..0 ~~- ~9/4/29.08 . !I.!P_I~]'J!
. ~BDELRAHJ:!i.~ll -~!!20 W 8TH SJ APT,9G               BROOKLYN ,NV,                 1Q/~/29Q8. 7:57.f'¥          -·-- ,_,_ ... I'J§<M 19./.3/2PQ.8 3:20PM 10/~/.20p8 IPQ..f.~
                                                                                      '!-919/199!>. .. .&:~Ar.-t.. _       ---~~¥.. . 1Q/~/?098 . 3:34 Ptyl 10/4/?90.!! . J~~7 ..PM
       ~~IJIAMMAI\I L<I.:IU MAKI N\;1 :">I AI" I :')\;I ~KUUII.LYN NY     u..:.:l:"> 10/6/2008          8:39AM                    ' !'J~Iyl _ 100/2008    6:~Q Al\ll . .!Q/.1a29~ 9:.Q2 ~~
       DE_kRAHMA!'l                                                                                                       -        N&M 10/3/2098 6:'1,7 A.M 10/~/2()08 . '!:J?_P.tfl
 . ~llP.E~J!AHMA~J}27 52ND ST                           BROOKLYN.,.N L ...1n~2.. 10/6/2008: 9:2Q~.M                  ....- ·-- _. !'l.§<.M •. 10/3/2008 q:38 AM 10/4/2008 9;49 PM.
   ~-B_Qfl_RAHMAN .~Sl!? 15TH AVE APT 6f. _ _ BROOKLYN .!'J..Y. _ 1,121~ 10/6/.2008 9:.3.9 AM ---- - · . ... _ ~!!!~ .. 10/3/2008 6:56AM 10/.4/2008 10:08 PM
                                                                                      10/~L~.PQS. !O;~~~M ______ .....?.~!;!,_ .....- - •




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 ABDELRAHMAN , 92WOODRUH_AVE.A~T~Q___ BROQKLVN                     ...      u~~v.__.,"!t."!t _     •.         . .             •         ·-          ~ ___                  - - · - · - · __
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· ABDELRAHMAN ' 30 LINDEN BLVD APT 85             BROOKLYN INY   ' 11226i _l,Q[§./:~QOJI:.!~;~-~I)LI_ _____ , _,_ ... ~.!,1.1!,_ . · - - - . ..
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                                    Exhibit C- High Volume of Visits per Day by Top Six Servers
Number and percentage of days with high volumes of visits, per server




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                           Case 1:24-cv-04108-ALC                Document 3-1      Filed 05/30/24        Page 25 of 26



                          Exhibit 0 -Service Methods in NYC Civil by Top Six Servers for Cla imed Services

Service m ethod breakdown by type for NYC Civil, Top 6 servers
                                                         .----------------------------
                                                          Michael Mosquera




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Case 1:24-cv-04108-ALC         Document 3-1       Filed 05/30/24        Page 26 of 26



Exhibit D- Service Methods in NYC Civil by Top Six Servers for Clai med Services


                           Angelo Rivera
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